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                     UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

ART AKIANE LLC,
              Plaintiff,
                           v.                     Case No. 19-cv-02952
ART & SOULWORKS LLC,                              Judge Edmond E. Chang
CAROL CORNELIUSON,
CARPENTREE, LLC, and VIRGINIA HOBSON,             Mag. Judge Jeffrey Cole
              Defendants.

ART & SOULWORKS LLC and CAROLYNE
CORNELIUSON,
              Counter-Claimants,
                           v.
ART AKIANE LLC, AKIANE ART GALLERY,
LLC, and AKIANE KRAMARIK,
              Counter-Defendants.

                JOINT PROPOSED EXPERT DISCOVERY SCHEDULE

       Pursuant to the Court’s December 15, 2021 directive, Plaintiff/Counter-Defendant Art

Akiane LLC, Counter-Defendants Art Akiane Art Gallery and Akiane Kramarik, and

Defendants/Counter-Claimants Art & SoulWorks LLC and Carol Corneliuson, hereby submit the

attached JOINT Proposed Expert Discovery Schedule for the Court’s consideration and approval.

Dated: December 21, 2021                  Respectfully submitted,

                                          By: /s/ Adam Wolek
                                          Adam Wolek
                                          FOX ROTHSCHILD LLP
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                                          Chicago, IL 60654
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                                          Counsel for Plaintiff and Counter-Defendants
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Dated: December 21, 2021             Respectfully submitted,

                                     By: /s/ Nicole N. Auerbach
                                     Nicole N. Auerbach
                                     Kehinde Dourwade
                                     ELEVATENEXT LAW
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                                     Counsel for Defendants/Counter-Claimants
                                     Art & SoulWorks LLC and Carolyne Corneliuson




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                       UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ART AKIANE LLC,
                Plaintiff,
                             v.                      Case No. 19-cv-02952
ART & SOULWORKS LLC,                                 Judge Edmond E. Chang
CAROL CORNELIUSON,
CARPENTREE, LLC, and VIRGINIA HOBSON,                Mag. Judge Jeffrey Cole
                Defendants.

ART & SOULWORKS and CAROLYNE
CORNELIUSON,
                Counter-Claimants,
                             v.
ART AKIANE LLC, AKIANE ART GALLERY,
LLC, and AKIANE KRAMARIK,
                Counter-Defendants.

                        EXPERT DISCOVERY SCHEDULING ORDER

         AND NOW, this ____ day of ______________________, 2021, the deadlines for expert

discovery in the above-captioned matter are set as follows:

 March 25, 2022        Deadline to Serve Affirmative Expert Disclosures
 April 22, 2022        Deadline to Complete Depositions of Affirmative Experts
 May 13, 2022          Deadline to Serve Rebuttal Expert Disclosures
 June 3, 2022          Deadline to Complete Depositions of Rebuttal Experts


         IT IS SO ORDERED.




Dated:
                                                    THE HONORABLE JEFFREY COLE
                                                    UNITED STATES MAGISTRATE JUDGE
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                               CERTIFICATE OF SERVICE

       I certify that, on December 21, 2021, I filed foregoing Joint Proposed Expert Discovery

Schedule with the Clerk of Court via CM/ECF, which provided notice of same to all parties and/or

counsel who have made an appearance in this case.


Dated: December 21, 2021                    By: /s/ Adam Wolek
                                                  Adam Wolek
